   Case 2:23-cv-02224-MSN-atc            Document 279-6         Filed 01/10/25       Page 1 of 4
                                          PageID 3536
                                                                                  Joshua M. Levin
                                                                           Direct: (312) 253-8623
                                                                          Email: jlevin@rblaw.net




November 11, 2024

 VIA EMAIL


 Bruce McMullen
 Jennie Vee Silk
 Freeman B. Foster
 Baker, Donelson, Bearman
 Caldwell & Berkowitz, P.C.
 165 Madison Avenue, Suite 2000
 Memphis, TN 38103



       Re: Wells v. City of Memphis, et al., Case No. 2:23-cv-02224 – Rule 37 Letter

 Dear Counsel:

        In our July 29, 2024 Rule 37 correspondence, we identified certain deficiencies in the
City’s discovery responses, which we have been working together since then to resolve. This letter
identifies multiple, additional deficiencies with the City’s discovery responses. We write this letter
pursuant to Rule 37 to address those deficiencies.

      We request a Rule 37 conference to discuss these matters. We ask to hold the conference
by November 22, 2024. Please let us know dates when you are available.

        General discovery issues. In addition to the specific discovery issues discussed below,
there are numerous discovery requests in response to which the City stated that it was continuing
to search for and would produce responsive documents and supplement its responses accordingly.
These include RFP Nos. 1, 4, 5, 9, 15, 22, 26-28, 54, 69, 74, 94, and 99. Many months have passed
and we do not have updated written responses indicating whether such ongoing searches have been
completed or remain ongoing. We ask that you please provide this by November 25, 2024. If
the City’s search is complete but the City has not produced any responsive documents, please
indicate whether the lack of production is because no responsive documents were located or
because the City is withholding documents based on an objection. According to the City’s most
recent production inventory (dated October 15, 2024), the City has not produced any documents
for RFP Nos. 22-24, 51, 55-72, 75-93, 95-98, 100-101, 104, 107-109, 114-115.

        Privilege log and production inventory issues. You have asserted privilege objections
in response to a number of Plaintiff’s requests for production. We are in receipt of the City’s
privilege logs and production inventories. It appears that a number of documents identified on the
City’s most recent privilege log (dated October 15, 2024) are not included on the City’s most
recent production inventory (dated October 15, 2024). See, e.g., COM_0058108 – COM_0058130.
                                                  1
   Case 2:23-cv-02224-MSN-atc           Document 279-6        Filed 01/10/25      Page 2 of 4
                                         PageID 3537
                                                                                Joshua M. Levin
                                                                         Direct: (312) 253-8623
                                                                        Email: jlevin@rblaw.net

Please provide an amended production inventory by November 25, 2024 that includes all
documents contained on the City’s privilege logs such that it is clear which documents in the logs
are responsive to which requests.

        RFP Nos. 1 and 14; Interrogatory No. 10. In response to these discovery requests, the
City promised that it would be producing a chart or charts. We do not believe that any such charts
has been provided, and it has been more than 11 months since the City made that commitment.
Please produce the charts by November 25, 2024. Additionally, please note that while RFP No.
14 and Interrogatory No. 10 refer to the SCORPION Unit, the City’s interrogatory responses make
clear that the SCORPION Unit had been in operation since at least 2006, and had simply been
operating under another name—“CAT.” See, e.g., City’s Resp. to Pl.’s Interrogatory 5 (stating that
the SCORPION unit was “merely” a “rebranding” of “CAT,” MPD’s Criminal Apprehension
Team, which “existed since 2006”). The reference to SCORPION Unit in RFP No. 14 and
Interrogatory No. 10 thus include the CAT Unit, through we are willing to limit production to 2013
rather than 2006.

         RFP No. 29. This request sought inspection of the cellphones of several city employees.
The City responded that the cellphones are not in its possession, custody, or control. However,
the City issues cellphones to certain MPD employees and regulates their use, restricting it to City
business. See COM_0018264 (“Cellular telephones provided by the Memphis Police Department
are for BUSINESS USE ONLY.” (emphasis original)). That brings MPD-issued cellphones
squarely within the City’s possession, custody, or control. Please clarify by November 25, 2024
whether any of the custodians identified in RFP No. 29 received MPD-issued cellphones and,
if so, please make them available for inspection.

        RFP Nos. 58, 62 and 63. These requests ask the City to produce an exemplar of, and permit
inspection of, each article of clothing and tactical gear worn by or used by the individual
defendants during their encounter with Mr. Nichols. The City objected that the term “tactical gear”
is vague and undefined. For purposes of these RFPs, “tactical gear” refers to any equipment or
tools that the individual defendants wore or used during their encounter with Mr. Nichols,
including but not limited to restraints (e.g., handcuffs), weapons (e.g., OC spray, batons, tasers,
and firearms), and protective clothing (e.g., bulletproof vests).

         The City further objected that “MPD officers purchase their own clothing and gear,” and
responded that the requested items are not in the possession, custody, or control of the City.
However, the January 8, 2023 ISB memoranda notifying Chief Davis that the individual
defendants were being relieved of duty pending investigation expressly note that “[a]t the time of
[their] relief, [the individual defendants] surrendered [their] MPD issued equipment.”
COM_0001611-18. The memoranda go on to list the equipment that the individual defendants
surrendered to MPD, including their firearms, ammunition, chemical agents, tasers, radios,
ballistic vests, handcuffs, ASP batons, badges, and smartphones. Id. The memo states that each of
these “items will be stored at FTU [Firearms Training Unit] for safekeeping.” Id.

        Because these memoranda demonstrate that the individual defendants surrendered their
tactical gear to MPD, the City’s assertion that it does not have possession, custody, or control of
these items appears to be incorrect. Please provide an amended response to RFP Nos. 58, 62,
and 63 by November 25, 2024. If the City continues to take the position that it is not in
                                                2
   Case 2:23-cv-02224-MSN-atc            Document 279-6         Filed 01/10/25      Page 3 of 4
                                          PageID 3538
                                                                                  Joshua M. Levin
                                                                           Direct: (312) 253-8623
                                                                          Email: jlevin@rblaw.net

possession, custody, or control of the requested items, please identify the chain of custody for
each item listed in the ISB memoranda, the person or entity to which the City transferred
possession, and identify the steps the City took to preserve this evidence.

      RFP No. 70. Please provide a date certain by which the City will re-produce the referenced
documents in an accessible format.

        RFP No. 71. This request seeks demographic data relating to Terry stops initiated by MPD
officers from 2018 through 2022. You have objected to overbreadth, which presumably refers to
your contention that the complaint refers only to the SCORPION Unit. As we explained in our
October 30, 2024 Rule 37 letter, however, the Monell allegations in the complaint are broader than
the SCORPION Unit and concern the entire MPD. You also objected that a request for data falls
outside of Rule 34. But as we explained in our October 16, 2024 Rule 37 letter (p. 2), that is simply
incorrect—data stored on databases falls within the scope of Rule 34. Your response states that
you are withholding data based on your objections. Because the City’s objections are legally
incorrect, you must produce the responsive data. Please advise of your position by November
25, 2024.

         RFP Nos. 72, 81-86. These requests seek data regarding MPD traffic stops from 2018 to
2023. The City responded that it is withholding data responsive to these requests based on the
City’s objection that it is not required to “generate documents” that do not already exist. As
discussed in the parties’ October 14, 2024 Rule 37 conference and our October 16, 2024 Rule 37
letter, we are merely seeking the raw data that the City already maintains about MPD traffic stops
and Rule 34 does require parties to search existing databases and produce data therefrom. See
October 16, 2024 Rule 37 letter at 2 (collecting cases).

        In order to assess any supposed overbreadth/burdensomeness concerns, we requested on
the parties’ October 14, 2024 conference that the City send us a list of the data fields that the City
maintains for the requested MPD data. The City agreed to consider this request. We asked you to
let us know your position by October 18 but you have still not responded. Please provide the
traffic stop data fields by November 18, 2024 or we will consider the parties to be at impasse
on these RFPs.

       RFP Nos. 91-93 and 95. These requests inadvertently cross-referenced the wrong RFP,
leading the City to object that the requests were vague. The cross reference in RFP Nos. 91 and 92
should be to RFP No. 90. The cross reference in RFP No. 93 should be to RFP No. 92. In addition,
we noticed that RFP No. 95 also cross-referenced the wrong RFP. The cross reference in RFP No.
95 should be to RFP No. 96. Please review these requests in light of the corrected cross
references and provide amended responses by November 25, 2024.

        RFP No. 110. This request asks for complaints and ISB Security Squad Investigations
referred to the Shelby County District Attorney’s Office going back to January 1, 2018. You
objected on overbreadth grounds and proposed to produce documents going back only to January
1, 2021—a date that appears tied to your contention that the scope of this case concerns
SCORPION only. That proposition is incorrect, and the scope you propose is too narrow for
Monell, as we have discussed and explained in our October 30, 2024 Rule 37 letter (pp. 4-5).

                                                  3
   Case 2:23-cv-02224-MSN-atc            Document 279-6        Filed 01/10/25      Page 4 of 4
                                          PageID 3539
                                                                                  Joshua M. Levin
                                                                           Direct: (312) 253-8623
                                                                          Email: jlevin@rblaw.net

Please make production as indicated in the request and advise of your position by November
25, 2024.

        RFP No. 119. This request asks for any “documents that the City intends to use, rely on,
or ask a deponent about in any deposition in this action.” The City responded that it is withholding
responsive documents based on a work-product objection. That objection is improper and
misunderstands the RFP. The RFP merely requests that any documents that will be used in a
deposition be produced in advance of the deposition (to the extent that the document was not
previously produced by another party or a third party). Because the City’s objection is incorrect,
please serve by November 25, 2024 an amended response agreeing to produce the responsive
documents. We note that the City used and relied on documents for Morgan Jackson’s deposition
on November 11, 2024 that were not previously produced. Any documents that may be used in
pending depositions should be produced immediately.

                                                             Sincerely,

                                                             /s/ Joshua M. Levin



Joshua M. Levin
Senior Attorney
Romanucci & Blandin, LLC
321 North Clark Street, Suite 900
Chicago, Illinois 60654
Direct Phone #: 312-253-8623
Fax: 312-458-1004 (Attn: Joshua Levin)
Email: jlevin@rblaw.net




                                                 4
